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 7

 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10

11     EMPYREAL ENTERPRISES, LLC,                  Case No. 5:22-cv-00094-JGB-SHK
       d/b/a EMPYREAL LOGISTICS
12                                                 DEFENDANT SHANNON D. DICUS’
                          Plaintiff,               OPPOSITION TO PLAINTIFF’S
13                                                 RENEWED EX PARTE APPLICATION
                              v.                   FOR TEMPORARY RESTRAINING
14                                                 ORDER
       The United States of America; the U.S.
15     Department of Justice; Attorney
16     General MERRICK GARLAND, in his
                                                   Honorable District Court Judge
       official capacity; the Federal Bureau of    John W. Holcomb
17     Investigation; CHRISTOPHER A.
       WRAY, Director of the Federal Bureau        Honorable Magistrate Judge
18                                                 Shashi H. Kewalramani
       of Investigation, in his official
19     capacity; KRISTI KOONS JOHNSON,
20     Assistant Director of the Federal
       Bureau of Investigation overseeing the
21     FBI’s Los Angeles Field Office, in her
22     official capacity; the Drug Enforcement
       Administration; ANNE MILGRAM,
23     Administrator of the Drug Enforcement
24     Administration, in her official capacity;
       SHANNON D. DICUS, San
25     Bernardino County Sheriff-Coroner, in
26     //
27     //
28
            DEFENDANT SHANNON D. DICUS' OPPOSITION TO PLAINTIFF’S RENEWED EX PARTE
                       APPLICATION FOR TEMPORARY RESTRAINING ORDER
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 1     his official capacity as the head of the
 2     San Bernardino County Sheriff’s
       Office.
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                           Defendants.
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         DEFENDANT SHANNON D. DICUS' OPPOSITION TO PLAINTIFF’S RENEWED EX PARTE
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 1                                                   I.
 2                                          INTRODUCTION
 3           The Renewed Ex Parte Application for Temporary Restraining Order and Order to
 4     Show Cause filed on January 19, 2022 on behalf of plaintiff Empyreal Enterprises, LLC,
 5     and the underlying Complaint amount to no more than a special interest crusade against
 6     the lawful civil forfeiture process and a blatant attempt to interfere with ongoing local
 7     criminal investigations. At a minimum, this matter is rife with questions of fact, barring
 8     the requested relief because the moving party cannot establish it is likely to succeed on its
 9     claims.
10           Following three traffic stops conducted after San Bernardino County Sheriff’s
11     deputies personally observed Empyreal Enterprises’ drivers committing numerous
12     California Vehicle Code violations, Empyreal Enterprises, LLC seeks to enjoin San
13     Bernardino County Sheriff’s deputies from conducting “continued unlawful and
14     unconstitutional stops, searches, and seizures of its property, including [] pretextual stops
15     of Empyreal’s vehicles and baseless seizures of hundreds of thousands of dollars of
16     currency that Empyreal lawfully transports for other lawful businesses to deposit into
17     legitimate banking institutions.”     Ex Parte Application Notice, Dkt. 36, 2:25-3:2.
18     Empyreal Enterprises’ numerous unsupported factual allegations cannot be taken at face
19     value. The only evidence submitted so far, a conclusory and self-serving declaration from
20     the financially invested Chief Executive Officer, is grossly deficient when considering
21     whether to set the entire judicial process aside.
22           Further, the moving party improperly seeks federal court intervention into ongoing
23     criminal investigations, state warrants, and multiple separate federal proceedings for civil
24     forfeitures. At a minimum, the well-settled Rooker-Feldman abstention doctrine creates
25     barriers to the relief requested because the state court has found that probable cause existed
26     for the first seizure that cannot be displaced by a de facto appeal to the federal court.
27     Empyreal Enterprises also admits the funds taken pursuant to that warrant are the subject
28                                         1
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 1     of a federal forfeiture proceeding giving the company due process to challenge the seizure.
 2           With this application, Empyreal Enterprises, in essence, is requesting the Court
 3     decide in any advance that any future traffic stop by the San Bernardino County Sheriff
 4     would be pretextual, no matter what traffic laws are broken. As their drivers have already
 5     exhibited a pattern of driving practices that violate the California Vehicle Code, this level
 6     of immunity from corrective action would certainly not be in the public interest.
 7           For these reasons, presented in more detail below, San Bernardino County Sheriff-
 8     Coroner, Shannon D. Dicus, in his official capacity, respectfully requests the instant ex
 9     parte application be denied in its entirety.
10                                                    II.
11                                       LEGAL STANDARDS
12           Ex parte relief is reserved for the most emergent circumstances. See Mission Power
13     Eng’g Co. v. Cont’l Cas. Co., 883 F.Supp. 488 (C.D. Cal. 1995). These procedures should
14     be used sparingly because they bypass the rules that ensure decisions are fairly made on
15     the merits, to the detriment of the adverse party.
16           Consistent with this general doctrine, “courts have recognized very few
17     circumstances justifying the issuance of an ex parte [temporary restraining order
18     (“TRO”)].” Reno Air Racing Ass'n., Inc. v. McCord, 452 F.3d 1126, 1131 (9th Cir. 2006).
19           A party seeking a TRO bears the burden of establishing four essential elements: 1)
20     the party is likely to succeed on the merits of the case; 2) the party is likely to suffer
21     irreparable harm in the absence of preliminary relief; 3) that the balance of equities tips in
22     the party’s favor; and, 4) that the request is in the public interest. Winter v. Natural
23     Resources Defense Council, Inc., 555 U.S. 7, 20 (2008). Financial injuries do not
24     constitute “irreparable harm” because they can be remedied later by money judgment.
25     Sampson v. Murray, 415 U.S. 61, 90-91 (1974).
26           Although the Ninth Circuit uses a “sliding scale” approach to give varied weight to
27     each factor depending on the circumstances of each case, a moving party must still make
28                                         2
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 1     an adequate evidentiary showing on all four of these elements before a TRO may be issued.
 2     Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1135 (9th Cir. 2011).
 3                                                    III.
 4                       FACTUAL AND PROCEDURAL BACKGROUND
 5           A. Pertinent Factual Background
 6           This matter primarily arises from three traffic stops of a Ford transit van owned by
 7     Plaintiff Empyreal Enterprises, LLC, doing business as Empyreal Logistics (“Plaintiff”)
 8     over a three-month period of time in San Bernardino County.           Each of the stops
 9     commenced with observed violations of the California Vehicle Code.
10           November 2021 Traffic Stop. On November 16, 2021, a member of the San
11     Bernardino County Sheriff’s Highway Interdiction Team observed a Ford van that was
12     traveling approximately six feet behind a semi-truck with attached trailer while both
13     vehicles were traveling 55 to 60 miles per hour, in violation of California Vehicle Code
14     section 21703 (following too close). A traffic stop was conducted for that violation.
15     Declaration of Sergeant Alex Naoum (“Naoum Decl.”) ¶ 4. During the stop, the deputy
16     made further observations, including hearing inconsistent statements made by the driver
17     and company representatives, that led the deputy to believe the contents of the van were
18     illicit proceeds of unlawful drug sales. Id.
19           As a result, the deputy authored a search warrant for the Ford van, “to include all
20     locked safes and compartments within the vehicle” to locate any currency and/or evidence
21     of the illegal transportation of narcotics/marijuana proceeds, electronics used in the
22     commission of the illegal transportation of such proceeds, and any narcotics and/or
23     marijuana located in the vehicle. The deputy submitted the warrant along with a statement
24     of probable cause and a statement of expertise of affiant to the Superior Court of
25     California, County of San Bernardino for consideration by a bench officer. Judge David
26     Cohn reviewed the items submitted and issued the warrant electronically on November
27     16, 2021, at 5:26 p.m. Naoum Decl. ¶ 5 & Ex. A.
28                                         3
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 1           A search of the van was conducted on November 16, 2021, pursuant to the warrant.
 2     Currency bags labeled with contents in the amount of $688,206.36 were seized pursuant
 3     to the warrant. Upon further processing, the contents of those currency bags were found
 4     to be currency in the amount of $712,176.36. The significant difference between the labels
 5     and the contents of the bags seized has not been explained. Naoum Decl. ¶ 6.
 6           Plaintiff has received Notice of Seizure of Property and Initiation of Administrative
 7     Forfeiture Proceedings from the United States Department of Justice dated January 11,
 8     2022. The description of seized property is “$712,176.36 U.S. Currency located in the
 9     [redacted] registered to EMPYREAL ENTERPRISES LLC.” See Declaration of Counsel,
10     Dkt. 36-3, ¶ 5 & Ex. A, Dkt. 36-4.
11           December 2021 Traffic Stop.        On December 9, 2021, a member of the San
12     Bernardino County Sheriff’s Highway Interdiction Team observed a Ford van that was
13     traveling too fast for conditions, made several multi-lane changes without signaling, and
14     then exited the interstate without signaling, all in violation of several sections of the
15     California Vehicle Code. A traffic stop was conducted for these violations. During the
16     stop, the deputy made further observations, including hearing inconsistent statements
17     made by the driver, that indicated the contents of the van were illicit proceeds of unlawful
18     drug sales. Naoum Decl. ¶ 7.
19           Narcotic detection K9 Eros was deployed to conduct an air sniff on the exterior of
20     the van. K9 Eros and his handler have trained together extensively so that the handler
21     recognizes Eros’ alerts. An untrained observer who has not worked with K9 Eros would
22     not recognize an alert. K9 Eros alerted near the open driver’s door to the odor of narcotics.
23     A further search revealed 19 currency bags. K9 Eros alerted to the odor of narcotics on
24     these currency bags as well. Currency bags labeled with contents in the amount of
25     $351,365.89 were seized pursuant to the probable cause search. Upon further processing,
26     the contents of those currency bags were found in the amount of $351,353.88. The
27     difference between the labels and the contents of the bags seized has not been explained.
28                                         4
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 1     Naoum Decl. ¶ 8.
 2            January 2022 Traffic Stop. On January 6, 2022, a member of the San Bernardino
 3     County Sheriff’s Highway Interdiction Team observed a Ford van that was following too
 4     close to a pickup truck, in violation of the California Vehicle Code. A traffic stop was
 5     conducted for that violation. No observations during the contact indicated the contents of
 6     the van were illicit proceeds of unlawful drug sales. The driver was issued a warning.
 7     Naoum Decl. ¶ 9.
 8            Consistent with Department policy, the deputy activated his audio recorder as he
 9     approached the van and kept it on during the entire encounter. Based on the audio
10     recording, at no time did the deputy state he stopped the van for “political” reasons. The
11     only mention of anything “political” was a comment by the van driver who explained he
12     left employment in New York in 2017 and relocated to Las Vegas because it was getting
13     “too political at the end.” The 22 minute 39 second recording ends with the deputy
14     returning to his vehicle after issuing the warning to the driver. Naoum Decl. ¶ 10.
15            Active Investigations.     The San Bernardino County Sheriff’s Department has
16     several active investigations into the illegal cultivation, illegal transport of narcotics, illicit
17     sales, and trafficking of the illicit proceeds of illegal sales of narcotics. The seizure of
18     currency mentioned above may be evidence in those investigations. Naoum Decl. ¶ 11.
19            B. Pertinent Procedural Background
20            On January 14, 2022, Plaintiff filed its Complaint for Declaratory and Injunctive
21     Relief against a series of federal defendants and against San Bernardino County Sheriff-
22     Coroner Shannon D. Dicus, in his official capacity (“Sheriff”). Dkt. 1.
23            On January 14, 2022, Plaintiff filed two Ex Parte Applications for Temporary
24     Restraining Order and Order to Show Cause. Dkt. 17 & 18.
25            On January 18, 2022, the Court denied the ex parte application without prejudice
26     for failure to comply with notice requirements. Dkt. 32.
27            On January 19, 2022, the parties submitted a stipulation and joint request for
28                                         5
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 1   briefing schedule. Dkt. 36. The Court granted a modified order setting the requested
 2   briefing schedule. Dkt. 37.
 3          On January 19, 2022, Plaintiff filed its Renewed Ex Parte Application for
 4   Temporary Restraining Order and Order to Show Cause, along with declarations of
 5   counsel and Empyreal Enterprises, LLC’s CEO Dierdra O’Gorman. Dkt. 36.
 6          Specially appearing Defendant Sheriff Shannon D. Dicus, in his official capacity,
 7   (“Sheriff”) hereby opposes the renewed ex parte application.
 8                                                  IV.
 9                                      LEGAL ARGUMENTS
10      A. Plaintiff Failed to Justify the Request for Emergency Relief.
11          A party who seeks to circumvent the standard litigation process must justify the
12   request by explaining the emergency nature of the matter. That justification is all the more
13   important when no party has appeared in response to a summons in the related litigation.
14   Plaintiff has not submitted sufficient evidence to demonstrate the emergency nature of the
15   application. Indeed, no portion of the application squarely addresses this threshold issue.
16   Accordingly, this matter is not entitled to elevation above all other issues pending before
17   the court.
18          To seek ex parte relief, the moving party must explain why “the ultimate relief
19   requested cannot be calendared in the usual manner. In other words, it must show why the
20   moving party should be allowed to go to the head of the line in front of all other litigants
21   and receive special treatment.” Mission Power Eng’g Co. v. Cont’l Cas. Co., 883 F.Supp.
22   488, 492 (C.D. Cal. 1995). “First, the evidence must show that the moving party’s cause
23   will be irreparably prejudiced if the underlying motion is heard according to regular
24   noticed motion procedures. Second, it must be established that the moving party is without
25   fault in creating the crisis that requires ex parte relief, or that the crisis occurred as a result
26   of excusable neglect.” Id.
27          Without squarely addressing the emergency nature of the instant application,
28                                       6
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 1   Plaintiff simply argues the company is “likely to suffer irreparable harm” if the application
 2   is not granted, which is an element of a motion heard on the standard timeframe. See
 3   Application, Dkt. 36, 23:12-24:26. In making this argument, addressed further below,
 4   Plaintiff’s Chief Executive Officer Dierdra O’Gorman speculates that the company has
 5   lost “potential clients” (in Colorado, not California) and anticipates reputational harm and
 6   expects negative effect on business, not that these have already occurred. Id.; Declaration
 7   of Dierdra O’Gorman (“O’Gorman Decl.”) ¶ 49. These conclusory allegations are not
 8   supported by any financial analyses, documents, or other evidence of any kind that
 9   indicates this matter is a dire emergency for the business.
10         Further, Plaintiff seems to have created several of the alleged hardships. Ms.
11   O’Gorman contends Plaintiff chose to avoid the entire State of Kansas, chose to forego
12   new business in the Midwest, chose to suspend development of a currency processing
13   facility and to avoid San Bernardino County, and chose to reimburse its clients the money
14   that was seized pursuant to lawful traffic stops and after probable cause was established.
15   Ms. O’Gorman contends these business choices prevent Plaintiff from meeting client
16   demand to expand, not to operate at all. Id. Again, no legitimate emergency exists from
17   crises created by the moving party.
18         These unsubstantiated fears and unsupported conclusory allegations fail to justify
19   elevating this matter ahead of the routine business of the court.
20      B. The District Court Lacks Subject Matter Jurisdiction Over at Least Some of the
21         Issues Raised in the Ex Parte Application for Temporary Restraining Order.
22         The well-settled Rooker-Feldman doctrine prohibits the federal district court from
23   reviewing the validity of state court proceedings, including the validity of searches and
24   seizures made pursuant to a warrant issued by a state court. Plaintiff contends that the
25   seizures at issue in this case were made without probable cause because its business is
26   entirely lawful. Plaintiff’s challenge to the November 2021 warrant, which was supported
27   by probable cause, in this forum is an improper de facto appeal of the validity of a state
28                                       7
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 1   court decision because it would require the federal court to reach a different conclusion
 2   than the state court. The de facto appeal and all “inextricably intertwined” matters should
 3   be disregarded.
 4         The Rooker-Feldman doctrine prevents a federal district court from exercising
 5   jurisdiction over a direct appeal or a “de facto appeal” from a state court decision.
 6   Cooper v. Ramos, 704 F.3d 772, 777 (9th Cir. 2012) (citing Noel v. Hall, 341 F.3d 1148
 7   (9th Cir. 2003)). The doctrine applies “not only to final judgments, but also to
 8   ‘interlocutory state court decisions.’” Santos v. Superior Court of Guam, 711 F. App’x
 9   419, 420 (9th Cir. 2018) (quoting Doe & Assocs. Law Offices v. Napolitano, 252 F.3d
10   1026, 1030 (9th Cir. 2001)).
11         De facto appeals are those where a party is (1) asserting as his legal injury legal
12   error by the state court and (2) seeks as his remedy relief from the state court decision.
13   Kougasian v. TMSL, Inc., 359 F.3d 1136, 1140 (9th Cir. 2004); see also Henrichs v.
14   Valley View Dev., 474 F.3d 609, 613 (9th Cir. 2007). “To determine whether an action
15   functions as a de facto appeal, [courts] pay close attention to the relief sought by the
16   federal-court plaintiff.” Santos, 711 F.App’x at 420 (quoting Cooper, 704 F.3d at 777-
17   78). “[A] district court cannot review state court decisions ‘in particular cases arising
18   out of judicial proceedings even if those challenges allege that the state court’s action
19   was unconstitutional.’” Roberts v. Los Angeles City Fire Dep’t, 86 F.Supp.2d 990, 993
20   (C.D. Cal. 2000) (“Roberts”) (citing District of Columbia Court of Appeals v. Feldman,
21   460 U.S. 462 (1983)). “The fundamental and appropriate question to ask is whether the
22   injury alleged by the federal plaintiff resulted from the state court judgment itself or is
23   distinct from that judgment.” Roberts, 86 F.Supp.2d at 993 (citing Young v. Murphy, 90
24   F.3d 1225 (7th Cir. 1996)).
25         When a plaintiff brings a de facto appeal, the doctrine also precludes district court
26   jurisdiction over any issue that is “inextricably intertwined” with the state court’s
27   decision. Cooper v. Ramos, 704 F.3d 772, 777 (9th Cir. 2012). A claim is “inextricably
28                                       8
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 1   intertwined” with a state court decision “if the general claim succeeds only to the extent
 2   that the state court wrongly decided the issues before it.” Id. at 778 (quoting Pennzoil
 3   Co. v. Texaco, Inc., 481 U.S. 1, 25 (1987)).
 4         In the instant case, Plaintiff contends the company’s civil rights were violated in
 5   part by the seizure of funds in November 2021. Complaint, Dkt. 1 ¶¶ 331-350, 372-391.
 6   The company has attempted to secure a return of those funds outside the legal process
 7   available in state court (see CALIFORNIA PENAL CODE § 1536) by directly demanding the
 8   Sheriff’s Department return the funds. Complaint, Dkt. 1 ¶¶ 140-142. Not having been
 9   successful with that tactic, Plaintiff now challenges the entire operation, including the
10   validity of the warrant that was issued by the Superior Court of California, County of San
11   Bernardino in federal district court. Naoum Decl. ¶¶ 4-6 & Ex. A. That challenge
12   constitutes a de facto appeal because Plaintiff contends the Sheriff did not have probable
13   cause to support the warrant and that the entire purpose was for financial gain to the
14   Department. The alleged invalidity of the warrant is a necessary component of Plaintiff’s
15   appeal because anything else would contradict Plaintiff’s baseline contention that all its
16   activities and its clients’ activities were lawful. Although Plaintiff contends the stop itself
17   was pretextual, which is potentially separate activity, the crux of the case is that the
18   defendants have no right to take the money. Accordingly, to find for Plaintiff, the federal
19   court would have to invade the purview of the state court and render the warrant improper.
20   The Rooker-Feldman doctrine precludes this de facto appeal.
21         Further, all of Plaintiff’s allegations against the Sheriff are arguably “inexplicably
22   intertwined” with the lawful November 2021 seizure pursuant to a warrant. Plaintiff
23   contends the three stops constitute a “pattern” of conduct that can establish municipal
24   liability. If the district court cannot consider the first seizure as unlawful given the
25   existence of a state court warrant, that leaves only one other seizure to be considered. By
26   definition, one instance of allegedly unconstitutional conduct does not establish a pattern.
27         Given this well-settled jurisdictional bar, the specially appearing Sheriff requests
28                                       9
     DEFENDANT SHANNON D. DICUS' OPPOSITION TO PLAINTIFF’S EX PARTE APPLICATION
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 1   the court deny Plaintiff’s application for temporary restraining order in its entirety without
 2   considering the merits of the request.
 3      C. Plaintiff’s Application Should Be Denied Because Questions of Fact Preclude a
 4         Finding That Plaintiff Is Likely to Prevail on the Underlying Complaint.
 5         If the Court exercises jurisdiction over any portion of this matter, the outcome of
 6   Plaintiff’s entire application rests on the Court being able to conclude that Plaintiff’s
 7   business in California is conducted in an entirely lawful manner with entirely law-abiding
 8   clients. Otherwise, the Sheriff is authorized to investigate alleged criminal activity and
 9   Plaintiff cannot prevail on its claim that the acts were ultra vires or unconstitutional. As
10   the funds secured from Plaintiff’s possession in November and December 2021 may be
11   evidence in ongoing criminal investigations, Plaintiff has not met this burden and it would
12   be appropriate to deny the application in its entirety.
13         As noted in Section II, Legal Standards, above, Plaintiff is required to make a
14   sufficient evidentiary showing on each of four essential elements for each separate request
15   before a temporary restraining order may issue. “Ordinarily, a federal court will not enjoin
16   enforcement of a state criminal law, even though unconstitutional. ‘To justify such
17   interference there must be exceptional circumstances and a clear showing that an
18   injunction is necessary in order to afford adequate protection of constitutional rights.’”
19   SOB, Inc. v. Cty. of Benton, 317 F.3d 856, 866 (8th Cir. 2003) (citing Wooley v.
20   Maynard, 430 U.S. 705 (1977)).
21         Critically deficient is the evidence presented to support Plaintiff’s contention that it
22   is likely to prevail on any claim. Plaintiff has not presented evidence other than the self-
23   serving and conclusory declaration of its financially interested CEO to support this notion.
24   It is unclear, for example, how Ms. O’Gorman has personal knowledge to make such
25   sweeping statements under penalty of perjury pertaining to the supposed lawfulness of
26   every client’s business activity, or that K9 Eros did not alert on the van and money in the
27   December 2021 stop. See Naoum Decl. ¶ 8 (“An untrained observer who has not worked
28                                      10
     DEFENDANT SHANNON D. DICUS' OPPOSITION TO PLAINTIFF’S EX PARTE APPLICATION
                      FOR TEMPORARY RESTRAINING ORDER
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 1   with K9 Eros would not recognize an alert.”).
 2          In contrast, the Sheriff has provided details about each of the stops from a
 3   knowledgeable declarant that calls Plaintiff’s conclusions into significant doubt. Most
 4   importantly, Sergeant Alex Naoum has declared that the Sheriff’s Department has “several
 5   active investigations into the illegal cultivation, illegal transport of narcotics, illicit sales,
 6   and trafficking of the illicit proceeds of illegal sales of narcotics.” Naoum Decl. ¶ 11. Ms.
 7   O’Gorman would not be privy to these investigations. Further, the currency seized from
 8   Plaintiff on two occasions “may be evidence in those investigations.” Id.
 9          Additionally, Plaintiff’s contentions pertaining to the “political” reasons for the
10   third stop (January 2022) are contradicted by a contemporaneous recording. Plaintiff’s
11   own driver is the only person captured on the deputy’s audio belt recording that uses that
12   word “political” during the encounter. The van driver explains that he left employment in
13   New York in 2017 and moved to Las Vegas because it was “getting too political at the
14   end.” Naoum Decl. ¶ 10.
15          Even the question of whether granting the instant application would be in the public
16   interest falters due to the questions of fact raised by the Sheriff. Barring traffic stops based
17   on Plaintiff’s self-serving and unsupported contentions that its business is entirely lawful,
18   which is in dispute, would grant Plaintiff’s driver’s license to disregard all safety laws.
19   Hypothetically, if the application is granted, Plaintiff’s drivers could travel in a reckless
20   manner on busy Southern California highways with immunity because the Sheriff would
21   not be permitted to stop them. Plaintiff’s drivers have already shown a propensity to
22   violate traffic laws and could now do so without consequence. That outcome would
23   certainly not serve the public interest. Accordingly, the balance of equities do not tip in
24   Plaintiff’s favor based solely on speculative business losses.
25          Given the questions of fact raised by the evidence provided by the Sheriff in
26   opposition to the Application, Plaintiff cannot establish it is likely to prevail on the
27   underlying claim and it is appropriate to deny this application.
28                                      11
     DEFENDANT SHANNON D. DICUS' OPPOSITION TO PLAINTIFF’S EX PARTE APPLICATION
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 1                                                 V.
 2                                         CONCLUSION
 3         As presented above, Plaintiff failed to establish it is entitled to emergency relief,
 4   and the Court lacks subject matter jurisdiction over the propriety of state court actions and
 5   any inexplicably intertwined matters. Additionally, if the court considers the merits of the
 6   requests, Plaintiff has not presented sufficient evidentiary support to indicate it is entitled
 7   to any of the requested relief. Accordingly, specially appearing Defendant Shannon D.
 8   Dicus, San Bernardino County Sheriff-Coroner, in his official capacity, respectfully
 9   requests the Court deny Plaintiff’s Renewed Ex Parte Application for a Temporary
10   Restraining Order without further consideration.
11

12   DATED: January 25, 2022                 Respectfully submitted,
13
                                             TOM BUNTON
14                                           County Counsel
15
                                              /s/ Heidi K. Williams
16                                            HEIDI K. WILLIAMS
17                                            Deputy County Counsel
                                              Attorneys for Specially Appearing Defendant
18                                            Shannon D. Dicus, San Bernardino County
19                                            Sheriff-Coroner, in his official capacity

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     DEFENDANT SHANNON D. DICUS' OPPOSITION TO PLAINTIFF’S EX PARTE APPLICATION
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 1                                     PROOF OF SERVICE
 2
            I am employed in the County of San Bernardino, State of California. I am a citizen
 3   of the United States, employed in the County of San Bernardino, State of California, over
 4   the age of 18 years and not a party to nor interested in the within action. My business address
     is 385 North Arrowhead Avenue, Fourth Floor, San Bernardino, CA 92415-0140.
 5

 6         On January 25, 2022, I served the following documents (specify): Defendant
     Shannon D. Dicus’ Opposition to Plaintiff’s Ex Parte Application for Temporary Restraining
 7   Order; Declaration of Sergeant Alex Naoum In Opposition to Plaintiff’s Ex Parte Application
 8   for Temporary Restraining Order; Exhibit A

 9   David C. Bass
10   Jerome Satran
     Koeller, Nebeker, Carlson & Haluck LLP
11   1478 Stone Point Drive, Suite 435
12   Roseville, CA 95661
     T: (916) 724-5700
13   F: (916) 788-2850
14   E: David.bass@knchlaw.com
     Attorneys for Plaintiff
15

16
           I served the documents on the persons listed above, as follows:
17

18         By Electronic Service.
19

20          I declare under penalty of perjury under the laws of the United States of America,
     that the above is true and correct.
21

22   Dated: January 25, 2022                         /s/ Heidi K. Williams
                                                     Heidi K. Williams, Declarant
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28                                      13
     DEFENDANT SHANNON D. DICUS' OPPOSITION TO PLAINTIFF’S EX PARTE APPLICATION
                      FOR TEMPORARY RESTRAINING ORDER
